        Case 1:08-cv-01440-CKK Document 146 Filed 02/18/10 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


                                                    )
MOHAMMED ABDULMALIK,                                )
                                                    )
          Detainee,                                 )
                         Petitioner,                )
                                                    )      Civil Action No. 08-1440(CKK)
          v.                                        )
                                                    )
BARACK OBAMA, et al.,                               )
                                                    )
                         Respondents.               )
                                                    )



                                       NOTICE OF FILING

      Notice is hereby given that Petitioner Mohammed Abdulmalik (ISN 10025) has, through

undersigned counsel, filed on January 29, 2010 with the Court Security Officer a Reply in Support

of Motion for Leave to Obtain Additional Discovery.



February 18, 2010                           /s/ Darin Thompson
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